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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

RICHY CASTRO, et al.,


                       Plaintiffs,

         v.                                                 Case No. 1:19-cv-01008 (Original)
                                                            Case No. 3:19-cv-586 (Reassigned)
CAPITAL ONE FINANCIAL
CORPORATION, et al.,


                       Defendants.


                  DEFENDANTS’ MOTION FOR RECONSIDERATION,
                 OR, IN THE ALTERNATIVE, CORRECTION OF ORDER

         Defendants Capital One Financial Corporation, Capital One, N.A., and Capital One Bank

(USA) (collectively, “Defendants”) move this Court reconsider, or alternatively to correct, its

Order (Dkt. No. 8) (the “Order) directing the transfer of this action, as well as civil actions 1:19-

cv-979 (Baird) and 1:19-cv-1021 (Barnes), to the Richmond Division for consolidation with

civil action 3:19-cv-555 (Heath).1 In support of this motion and similar motions filed in the

other transferred actions, Defendants have submitted an accompanying memorandum of law.

         Respectfully submitted, this 14th day of August, 2019.

                                              CAPITAL ONE FINANCIAL CORPORATION
                                              CAPITAL ONE, N.A.
                                              CAPITAL ONE BANK (USA), N.A.

                                              /s/ Mary C. Zinsner______________
                                              Mary C. Zinsner (VSB No. 31397)
                                              TROUTMAN SANDERS LLP

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  In order to preserve its position, Capital One files this motion in the original case number
assigned to this matter and the new case number assigned pursuant to the Court’s August 13,
2019 Order.


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                                   CERTIFICATE OF SERVICE

           I hereby certify that on the 14th day of August 2019, I electronically filed the foregoing

pleading with the Clerk of the Court using the CM/ECF System, which will then send a

notification of such filing (NEF) to all counsel of record.


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